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    In the United States Court of Federal Claims
                                OFFICE OF SPECIAL MASTERS
                                         Filed: February 17, 2022

*************************
JENNIFER DORSO,                            *       No. 19-699V
                                           *
                      Petitioner,          *       Special Master Sanders
v.                                         *
                                           *
SECRETARY OF HEALTH                        *       Stipulation for Award; Influenza
AND HUMAN SERVICES,                        *       (“Flu”) Vaccine; Shoulder Injury
                                           *       Related to Vaccine Administration
                      Respondent.          *       (“SIRVA”)
*************************
Michael A. Baseluos, Baseluos Law Firm, PLLC, San Antonio, TX, for Petitioner.
Mark K. Hellie, United States Department of Justice, Washington, DC, for Respondent.

                                               DECISION1

         On May 13, 2019, Jennifer Dorso (“Petitioner”) filed a petition for compensation pursuant
to the National Vaccine Injury Compensation Program.2 42 U.S.C. §§ 300aa-10 to -34 (2012).
Petitioner alleged that the influenza (“flu”) vaccine she received on November 1, 2017, caused her
to suffer from a shoulder injury related to vaccine administration (“SIRVA”). Pet. at 1, ECF No.
1. Petitioner further alleged that her injury lasted for more than six months. See id.

        On January 26, 2022, the parties filed a stipulation in which they state that a decision should
be entered awarding compensation to Petitioner. Stipulation ¶ 7, ECF No. 58. Respondent “denies
that [P]etitioner sustained the onset of a Table injury within the Table timeframe and further denies
that the flu vaccine caused [P]etitioner’s alleged left shoulder injury, any other injury, or her
current condition.” Id. ¶ 6. Nevertheless, the parties agree to the joint stipulation, attached hereto
as Appendix A. See id. ¶ 7. I find the stipulation reasonable and adopt it as the decision of the
Court in awarding damages, on the terms set forth therein.

          The parties stipulate that Petitioner shall receive the following compensation:


1
  This Decision shall be posted on the website of the United States Court of Federal Claims, in accordance
with the E-Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as
amended at 44 U.S.C. § 3501 note (2012)). This means the Decision will be available to anyone with
access to the Internet. As provided by Vaccine Rule 18(b), each party has 14 days within which to
request redaction “of any information furnished by that party: (1) that is a trade secret or commercial or
financial in substance and is privileged or confidential; or (2) that includes medical files or similar files,
the disclosure of which would constitute a clearly unwarranted invasion of privacy.” Vaccine Rule 18(b).
2
    National Childhood Vaccine Injury Act of 1986, Pub L. No. 99-660, 100 Stat. 3755.
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           A lump sum of $95,000.00 in the form of a check payable to [P]etitioner. This
           amount represents compensation for all damages that would be available
           under 42 U.S.C. § 300aa-15(a).

Id. ¶ 8.

       I approve the requested amount for Petitioner’s compensation. Accordingly, an award
should be made consistent with the stipulation.

       In the absence of a motion for review filed pursuant to RCFC Appendix B, the Clerk of
Court SHALL ENTER JUDGMENT in accordance with the terms of the parties’ stipulation.3

           IT IS SO ORDERED.

                                                          s/Herbrina D. Sanders
                                                          Herbrina D. Sanders
                                                          Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment is expedited by the parties’ joint filing of notice
renouncing the right to seek review.

                                                      2
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